267 F.2d 942
    Claude A. MADISON, Ruby A. Madison, Ardelle W. Madison, andBeulah E. Forman, Appellants,v.Herbert W. REICHELT, Jesse S. Baggett, Lansdale G. Clagett,Frank J. Lastner, and A. Preston Perrie, constituting Boardof County Commissioners of Prince George's County, Maryland,a body politic and a municipal corporation, Appellees.
    No. 7646.
    United States Court of Appeals Fourth Circuit.
    Argued June 11, 1959.Decided June 16, 1959.
    
      Frederic Orr Louden, Bethesda, Md., and Frederick DeJoseph, Washington, D.C., for appellants.
      Robert B. Mathias, Mt. Rainer, Md.  (Richard W. Case, Roger D. Redden, and Clark, Smith &amp; Prendergast, Baltimore, Md., on the brief), for appellees.
      Before SOBELOFF, Chief Judge, SOPER, Circuit Judge, and BARKSDALE, District Judge.
      PER CURIAM.
    
    
      1
      The plaintiffs applied to the Clerk of the Board of County Commissioners of Prince George's County, Maryland, for a permit to construct a restaurant building.  The permit was issued and the work had proceeded almost to completion, when it was discovered that the property in question was located in a portion of Prince George's County known as the Maryland-Washington Regional District, in respect to which (unlike other areas of the County) building permits are issuable, not by the Commissioners' Clerk, but only by the Building Inspector, and by him only with the approval of the Maryland-National Capital Park and Planning Commission as to zoning, etc.  The site is located in a residential zone and the Maryland-National Capital Park and Planning Commission refused to rezone.  The plaintiffs sued the County Commissioners for damages and the District Court granted the defendants' motion to dismiss.  For the reasons fully stated in the District Court's opinion, 158 F.Supp. 401, its action is
    
    
      2
      Affirmed.
    
    